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   AWL:awl

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.      18-20393-CR-COOKE(s)


   UNITED STATES OF AMERICA,

   vs.

   SANDRA RUBALLO,

                         Defendant.
                                                                                  /

                UNITED STATES= MOTION FOR DEETERMINATION OF
         MONEY JUDGMENT AMOUNTS, FOR PRONOUNCEMENT OF FORFEITURE
          MONEY JUDGMENTS AT SENTENCING, AND FOR INCORPORATION OF
                       FORFEITURE INTO THE JUDGMENT

           The United States of America, by and through the undersigned Assistant United States

   Attorney, moves that this Court determine appropriate money judgment amounts for all counts of

   conviction, that the Court enter a Judgment of Forfeiture, that the Court pronounce forfeiture at

   sentencing in accordance with Fed.R.Crim.P. 32.2 and incorporate the forfeiture into the judgment.

   In support of its motion, the United States submits the following:

                                             Background

           Defendant, Sandra Ruballo (“Ruballo”), was charged with, and convicted of: (1)

   conspiracy to commit wire fraud in violation of 18 U.S.C. '1349 [Count 1]; (2) three counts of

   wire fraud in violation of 18 U.S.C. '1343 [Counts 2-4]; (3) conspiracy to commit money

   laundering in violation of 18 U.S.C. '1956(h) [Count 6]; and (4) four counts of money laundering

   in violation of 18 U.S.C. '1956(a)(1)(B)(i) [Counts 7-10].

           The superseding indictment placed Ruballo on notice that, upon Ruballo’s conviction of
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   the wire fraud offenses, the United States would pursue forfeiture of “any property real or personal,

   which constitutes or is derived from proceeds traceable to such violation.” (D.E. 56, p. 13).

   Ruballo was also placed on notice that should she be convicted of any of the money laundering

   offenses, the United States would pursue forfeiture of “any property, real or personal, involved in

   such offense, or any property traceable to such property.” (D.E. 56, pp. 14).

          The forfeiture money judgment determinations must be made at the latest, by the

   conclusion of sentencing, currently scheduled for June 26, 2019. The United States moves that

   the Court make the appropriate forfeiture determinations, enter the appropriate forfeiture

   judgments, pronounce forfeiture as part of Ruballo’s sentence and incorporate the forfeiture into

   the judgment entered against Ruballo.

                                               Argument

          Because Ruballo has been convicted of crimes for which forfeiture is mandatory, the Court,

   in accordance with Federal Rule of Criminal Procedure 32.2, must impose forfeiture and

   pronounce forfeiture as part of Ruballo’s sentence.

   I.     Forfeiture Is Mandatory

          Ruballo, having been convicted of conspiracy to commit wire fraud, wire fraud, conspiracy

   to commit money laundering and money laundering, faces mandatory forfeiture pursuant to the

   applicable statutes, 18 U.S.C. § 981(a)(1)(C) and 18 U.S.C. § 982(a)(1). Both statutes use the word

   “shall.” As the Supreme Court has noted, when a statute directs that a court “shall order” forfeiture

   in imposing sentence, “Congress could not have chosen stronger words to express its intent that

   forfeiture be mandatory in cases where the statute applie[s].” United States v. Monsanto, 491

   U.S. 600, 607 (1989).


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          Forfeiture for crimes, for which no specific criminal forfeiture exists, such as wire fraud

   not affecting a financial institution, is mandatory by application of Title 28, United States Code,

   Section 2461(c) which provides in pertinent part:

          If the defendant is convicted of the offense giving rise to the forfeiture, the court
          shall order the forfeiture of the property as part of the sentence in the criminal case
          pursuant to the Federal Rules of Criminal Procedure and section 3554 of title 18,
          United States Code.

   (Emphasis supplied); United States v. Brummer, 598 F.3d 1248 (11th Cir. 2010)(finding that

   district court was required to direct forfeiture under 28 U.S.C. ' 2461(c)). What is forfeitable

   when there are wire fraud violations not affecting a financial institution, is defined by Title 18,

   United States Code, Section 981(a)(1)(C) which provides for forfeiture of Aany property, real or

   personal, which constitutes or is derived from proceeds traceable to...any offense constituting

   >specified unlawful activity= (as defined in section 1956(c)(7) of this title), or a conspiracy to

   commit such offense.@

          Forfeiture is also mandatory for violations of Title 18, United States Code, Section 1956.

   Pursuant to 18 U.S.C. ' 982(a)(1), “The court, in imposing sentence on a person convicted of an

   offense in violation of section 1956, 1957…of this title, shall order that the person forfeit to the

   United States any property, real or personal, involved in such offense, or any property traceable to

   such property.” (Emphasis supplied).

          The Eleventh Circuit has upheld the imposition of forfeiture money judgments in many

   fraud cases, see e.g., United States v. Hernandez, 803 F.3d 1341, 1342-43 (11th Cir. 2015)(district

   court erred when it failed to impose forfeiture money judgment for theft of government funds in

   addition to imposing restitution); United States v. Noorani, 188 Fed. Appx. 833, 838 (11th Cir.

   2006)(rejecting argument that court lacked statutory authority to impose forfeiture money

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   judgment for proceeds of cigarette trafficking offense) and United States v. Crumpler, 229 Fed.

   Appx. 832, 840 (11th Cir. 2007)(defendant must pay money judgment equal to value of stock

   options obtained in violation of the securities laws), as well as in money laundering, drug and

   RICO cases, see e.g., United States v. Puche, 350 F.3d 1137, 1153-54(11th Cir. 2003)(money

   judgment equal to combined value of commission paid to launderer and untainted money

   facilitating the offense, upheld); United States v. Watkins, 320 F.3d 1279, 1281 (11th Cir.

   2003)($100,000 money judgment imposed for drug crime); United States v. Browne, 505 F.3d

   1229 (11th Cir. 2007)(entry of forfeiture money judgment against both defendants).

          The Court must impose forfeiture, as part of Ruballo’s sentence, for conspiracy to commit

   wire fraud, wire fraud, conspiracy to commit money laundering and money laundering.

   II.    Forfeiture Money Judgments Are Determined By The Court Pursuant To Statutory
          Language

          When the government seeks a forfeiture money judgment, “the court must determine the

   amount of money that the defendant will be ordered to pay.” Fed.R.Crim.P. 32.2(b)(1)(A). The

   amount of the forfeiture money judgment need not be specified in the charging document.

   Fed.R.Crim.P. 32.2(a).

          For purposes of calculating the money judgment for the conspiracy to commit wire fraud

   in violation of 18 U.S.C. § 1349, as well as the substantive violations pursuant to 18 U.S.C. § 1343,

   the amount of proceeds must be determined. “[T]he term ‘proceeds’ is defined as … [i]n cases

   involving …unlawful activities…means property of any kind obtained directly or indirectly, as the

   result of the commission of the offense giving rise to forfeiture and any property traceable thereto,

   and is not limited to the net gain or profit realized from the offense.” United States v. Russo, 2007

   WL 505056 *4 (S.D.Ala. Feb. 14, 2007) citing 18 U.S.C. §981(a)(2)(A).          The Eleventh Circuit

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   has utilized the “but for” test in determining whether something constitutes proceeds. See United

   States v. Hoffman-Vaile, 568 F.3d 1335, 1344 (11th Cir. 2009)(applying “but for” test: health care

   provider convicted of Medicare fraud is liable to forfeit funds received from Medicare and funds

   she received from private insurers because funds would not have been received “but for” the

   fraudulent billings); United States v. Cekosky, 171 Fed. Appx. 785, 787-88 (11th Cir.

   2006)(because defendant would not have been able to open his bank account “but for” having

   committed an identity theft offense, the interest he earned on the deposits in that bank account

   represented the proceeds of the offense, even though the deposits themselves were made with

   legitimate funds). Defendant obtained proceeds from the conspiracy to commit wire fraud as well

   as the substantive wire fraud. Those proceeds are therefore, forfeitable.

          For purposes of calculating the money judgment for the money laundering conspiracy as

   well as the substantive money laundering counts in violation of 18 U.S.C. § 1956, the Court must

   determine the property “involved in” the violations. Courts have broadly interpreted the phrase

   “involved in” as written in § 982(a)(1) to encompass “the money or other property being laundered

   (the corpus), any commissions or fees paid to the launderer, and any property used to facilitate the

   laundering offense.” United States v. Puche, 350 F.3d 1137, 1153 (11th Cir. 2003) (quoting

   United States v. Bornfield, 145 F.3d 1123, 1135 (10th Cir. 1998) (internal quotation marks

   omitted); United States v. Seher, 562 F,3d 1344, 1368 (11th Cir, 2009) (quoting Puche, 350 F.3d

   at 1153).

   III.   The Forfeiture Money Judgment Amounts Are Readily Determined

          For purposes of calculating the forfeiture money judgments for the wire fraud conspiracy

   (Count 1), and the wire fraud offenses (Counts 2 through 4), Ruballo’s entire scheme must be


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   reviewed.

          The Eleventh Circuit condones the imposition of forfeiture for proceeds of an entire

   scheme, even where only certain substantive counts are proved. See United States v. Hasson, 333

   F.3d 1264, 1279-1280 (11th Cir. 2003). Hasson was convicted of numerous charges including

   three substantive wire fraud counts, through which $877,500 in funds were transmitted or received.

   The court ordered forfeiture of several items, including $20 million from one account. Hasson

   argued that the forfeiture could not be imposed for any amount beyond the $877,500 from the three

   specific wire transfers. In upholding the district court’s forfeiture order, the Eleventh Circuit

   correctly noted that “a scheme to defraud is not, by itself, a federal crime…” id. at 1272, but must

   be executed in a way that violates the statute in question. The court found that the jury “could

   reasonably conclude that [the uncharged] mailings and wirings were proven by a preponderance

   of the evidence and that they were made or caused for the purpose of executing the scheme to

   defraud” which scheme to defraud was demonstrated by three substantive acts in furtherance of

   the scheme. Id. at 1279-80.

          When a scheme is charged, even though only certain substantive counts are proved, the

   proceeds of the scheme are forfeitable. See United States v. Hasson, 333 F.3d 1264, 1279-1280

   (11th Cir. 2003)(for forfeiture purposes, fact-finder could use evidence of “extensive scheme to

   defraud furthered by various mailings [acquitted conduct] and uses of the wires [convicted

   conduct].” Id. at 1280. As discussed in United States v. Cappocia, 503 F.3d 103, 110 (2nd Cir.

   2007), “where the government has alleged discrete violations of a statute that does not criminalize

   a scheme, the government is not entitled to forfeiture of proceeds from uncharged violations

   regardless of whether they and the charged violations are part of a common scheme.”       The court


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   suggested that so long as the crime with which a defendant is charged constitutes a scheme, such

   as bank fraud, the government can forfeit proceeds of the scheme. The court stated:

          Where the conviction itself is for executing a scheme, engaging in a conspiracy,
          or conducting a racketeering enterprise, the government need only establish that
          the forfeited assets have the ‘requisite nexus,’ Fed.R.Crim.P. 32.2(b)(1), to that
          scheme, conspiracy, or enterprise.

   Id. at 117-118. Using the rationale of United States v. Hasson, as discussed in United States v.

   Capoccia, 503 F.3d 103, 117 (2nd Cir. 2007), Ruballo is liable for forfeiture of the proceeds of her

   entire scheme.

          As in Hasson, Ruballo was charged with, and convicted of, certain offenses, including wire

   fraud in violation of 18 U.S.C. §§ 1349 and 1343. Wire fraud, by definition, constitutes a

   “scheme.” 1 Accordingly, there is no need to identify the specific amount of the transactions

   underlying each of Counts 1 through 4. Instead, as in Hasson, this Court is allowed to consider

   the scope of an entire scheme. Extensive evidence of the scheme was presented and the Court

   should conclude that the proceeds of the Count 1 conspiracy, as well as each substantive count 2

   through 4, is at least $26.37 million. 2 See Docket Entry 223, pp. 18-22 (United States of

   America’s Objection to the PSR, Response in Opposition to Defendant Ruballo’s Objections to

   the PSR and Sentencing Memorandum.

          As noted earlier, the money judgment amounts for the money laundering offenses are

   calculated by determining the amount involved in or traceable to the violations. The amount



   1      The wire fraud statute, 18 U.S.C. § 1343, begins “[w]hoever, having devised or intending to
   devise any scheme or artifice…”

   2      The proceeds for each of Counts 1 through 4 are not cumulative and can only be collected
   one time. However, for purposes of the record and any appeal that may be taken, a forfeiture
   money judgment must be imposed separately for each of Counts 1 through 4.
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   involved in the money laundering conspiracy charged at Count 6, was, at a minimum, $19,523.00

   (funds laundered through cleaning companies).

          The monies involved in or traceable to the money laundering Counts 7 through 10 are at

   least the amounts identified as the value of the checks debited and deposited, specifically:

          Count 7:        $ 1,100
          Count 8:        $ 800
          Count 9:        $ 1,100
          Count 10:       $ 800

          The requested money judgments should be entered.

   IV.    The Requested Forfeitures Do Not Constitute An Excessive Fine

          The imposition of the requested forfeiture money judgments, does not constitute a violation

   of the Eighth Amendment=s prohibition against excessive fines as the value of the money judgment

   amounts fall below the maximum statutory fines for the given offenses and are presumptively

   constitutional.

          If the value of forfeited property is within the range of fines prescribed by Congress,
          a strong presumption arises that the forfeiture is constitutional ... [I]f the value of
          the property forfeited is within or near the permissible range of fines under the
          sentencing guidelines, the forfeiture almost certainly is not excessive.

   United States v. One Parcel of Real Estate etc., 214 F.3d 1291, 1295 (11th Cir. 2000), citing United

   States v. 817 N.E. 29th Drive, Wilton Manors, Florida, 175 F.3d 1304, 1309-110 (11th Cir. 1999)(if

   the value of the property is less than the maximum statutory fine, a Astrong presumption@ arises

   that the forfeiture is constitutional; if the value of the property is within or near the permissible

   range of fines under the Sentencing Guidelines, the forfeiture is almost certainly non-excessive;

   the personal characteristics of the owner, the character of his/her property, and the value of any

   remaining assets are irrelevant).


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          “The guidelines state that where a statute authorizes a maximum fine of greater than

   $25,000[sic], the maximum fine imposed by the guidelines does not apply and the statutory

   maximum applies instead.” United States v. One Parcel of Real Estate etc., 214 F.3d 1291, 1295

   (11th Cir. 2000), citations omitted.

          The maximum statutory fine for Count 1 is $50,000,000. The maximum statutory fine for

   Count 2 is $1,691,164. The maximum statutory fine for Count 3 is $1,719,956. The maximum

   statutory fine for Count 4 is $1,818,197. The maximum statutory fines for each of Counts 6 through

   10 is $500,000.00.

          Since the maximum fine range exceeds the $250,000 referenced in United States v. One

   Parcel of Real Estate etc., 214 F.3d 1291, 1295 (11th Cir. 2000) the Guideline range does not

   apply but the statutory range does. The forfeiture money judgment amounts sought for each of

   the Counts of conviction is well below the statutory fine range and is presumptively, not excessive.

          A defendant bears the burden of demonstrating that the forfeiture is grossly disproportional

   to the gravity of the offense. See United States v. DeGregory, 480 F. Supp. 2d 1302, 1304 (S.D.

   Fla. 2006); United States v. Wilk, 2007 WL 2263942 (S.D. Fla. 2007). Ruballo cannot meet her

   burden of proof to demonstrate that the requested forfeitures are disproportional to the gravity of

   her offenses. The requested forfeiture order, including the amounts specified, should be entered.



   V.     Forfeiture Must Be Pronounced At Sentencing And
          Incorporated Into The Judgment

          Federal Rule of Criminal Procedure 32.2 sets forth how forfeitures are handled as part of

   sentencing. AThe court must include the forfeiture when orally announcing the sentence or must

   otherwise ensure that the defendant knows of the forfeiture at sentencing. The court must also

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   include the forfeiture order, directly or by reference, in the judgment, but the court=s failure to do

   so may be corrected at any time under Rule 36.@ Fed.R.Crim.P. 32.2(b)(4)(B).

          The proposed order submitted in this matter, comports with the requirements of

   Fed.R.Crim.P. 32.2 and the procedures set forth at 21 U.S.C. 853, made applicable by 28 U.S.C.

   ' 2461 and by 18 U.S.C. ' 982(b).

                               Defendant=s Position on Requested Relief

          Undersigned counsel, in accordance with Local Rule 88.9, sent the instant motion and

   proposed order to counsel for defendant via electronic mail. The electronic mail was sent after

   office hours on June 25, 2019. No agreement on this motion was reached.

                                             CONCLUSION

          Accordingly, based upon the foregoing, it is prayed that the Court determine that the

   forfeiture money judgments in the requested amounts should be entered, that the Court pronounce




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   forfeiture as part of Ruballo=s sentence and incorporate the forfeiture, by reference, into the

   judgment entered against Ruballo.

                                                       Respectfully submitted,

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                                                       UNITED STATES ATTORNEY

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 25, 2019, the undersigned electronically filed the foregoing

   United States= Motion for Determination of Money Judgment Amounts, for Entry of a Judgment

   of Forfeiture, for Pronouncement of Forfeiture at Sentencing, and for Incorporation of Forfeiture

   into the Judgment, with the Clerk of the Court, using CM/ECF.


                                               By:     s/Alison W. Lehr
                                                       Alison W. Lehr
                                                       Assistant United States Attorney




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